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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

 THE WESTERN AND SOUTHERN LIFE :
 INSURANCE COMPANY, et al.,                 :
                                            : Case No. 3:21-cv-59
               Plaintiffs,                  :
                                            : Judge Thomas M. Rose
        v.                                  :
                                            :
 JAMIE NEELY, individually and on behalf of :
 minors, B.N. and W.N., et al.,             :
                                            :
               Defendants.                  :
______________________________________________________________________________

     ENTRY AND ORDER GRANTING LEAVE TO DEPOSIT INTERPLEADER
                                    FUNDS
______________________________________________________________________________

       The Court has reviewed the Brief filed by Plaintiffs (Doc. No. 22). Defendants did not file

a brief in response to the Court’s briefing schedule (Doc. No. 21), and the time to do so has now

passed. The Court GRANTS Plaintiffs’ request for leave to deposit the Interpleader Funds with

the registry of the Southern District of Ohio at Dayton within 30 days of entry of this Order.

       If Plaintiffs deposit the funds in accordance with 28 U.S.C. § 1335(a)(2) and this Order

(which will alleviate the Court’s concerns regarding subject-matter jurisdiction), then the Court

ORDERS Plaintiffs to file a Notice with the Court informing the Court that they have done so.

Once the Court receives that notice then, in accordance with Plaintiffs’ statement that “[i]f the

Court has any further concerns, Plaintiffs would welcome an opportunity to address them” (Doc.

No. 22 at PageID 325), the Court will enter an Order that addresses the parties’ joint motion (Doc.

No. 20), explain its concern(s), and provide an opportunity for the parties to address the concern(s)

and for Plaintiffs to file a motion for attorney’s fees as indicated in their brief (Doc. No. 22 at

PageID 324) if they wish to do so.

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   DONE and ORDERED in Dayton, Ohio, this Monday, October 18, 2021.

                                                     s/Thomas M. Rose
                                             ________________________________
                                                     THOMAS M. ROSE
                                             UNITED STATES DISTRICT JUDGE




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